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March 25, 2020
The Honorable Judge William C. Griesbach
U.S. District Court
Eastern District of Wisconsin
125 South Jefferson Street
Green Bay, WI 54301-4541

Re:       City of Green Bay v. Bostelmann, et al (Case No. 1:20-cv-00479)


Honorable Judge Griesbach:

I write on behalf of the Republican Party of Wisconsin (“RPW”) in the above-referenced action,
which action was commenced yesterday. Also filed yesterday by the Plaintiffs was a Motion for
a Temporary Restraining Order and Preliminary Injunction, Dkt.2 (“Motion”), in which, among
other things, Plaintiffs have requested emergency relief blocking the enforcement of multiple
Wisconsin election laws. In light of the gravity of the requested relief—including changes to
election laws in the middle of an ongoing election—RPW respectfully requests that the Court
withhold consideration of any relief, including any emergency relief, until the Court is presented
with adversarial briefing.

To that end, RPW is prepared to file a motion to intervene, along with an attached proposed
motion to dismiss tomorrow morning. We also note that the Court has set a conference call for
tomorrow at 1:30 p.m. and we intend to dial in for the call and, if permitted, address further
proceedings in this case, including the submission of opposition briefs in response to Plaintiffs’
Motion.
Sincerely,


s/ Eric M. McLeod                                   s/ Lisa M. Lawless
Eric M. McLeod                                      Lisa M. Lawless

CC: All counsel (via ECF)




HB: 4825-5822-8920.1                                                              Husch Blackwell LLP
